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7
                                   UNITED STATES DISTRICT COURT
8
                                          DISTRICT OF NEVADA
9
     LOUIS DeSALVIO, an individual,                       Case No:   2:19-cv-02013-GMN-BNW
10
                            Plaintiff,
11                                                        STIPULATION AND ORDER TO EXTEND
     v.                                                   THE DEADLINE FOR DEFENDANT TO
12                                                        FILE ITS REPLY IN SUPPORT OF
     ACUITY, A MUTUAL INSURANCE                           MOTION FOR PARTIAL DISMISSAL OF
13   COMPANY; DOES 1 through 10 and ROE                   PLAINTIFF’S COMPLAINT
     Business Entities 1 through 10, inclusive,
14                                                        (Second Request)
                            Defendants.
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16
              Defendant, Acuity, and Plaintiff, Louis DeSalvio, by and through the parties’ respective
17
     counsel, stipulate and agree that the deadline for Acuity to file its Reply in Support of Motion for
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     Partial Dismissal [ECF No. 5], filed on November 26, 2019 shall be extended from April 24, 2020
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     [ECF No. 14] to May 15, 2020.
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 1           This stipulation is submitted in compliance with LR IA 6-1. Good cause exists for the

 2   requested extensions as the parties are currently discussing and negotiating the potential dismissal of

 3   this action in favor of binding arbitration. The 702Firm Injury Attorneys (“The 702Firm”) was

 4   recently retained by Plaintiff. The 702Firm also seeks additional time to retain and review Plaintiff’s

 5   medical records. The parties agree that the requested extension is not being requested in bad faith or

 6   to delay these proceedings unnecessarily.

 7           This is the parties’ second request for an extension of the deadline.

 8

 9      Dated 17th day of April, 2020                         Dated 17th day of April, 2020

10      WILSON ELSER MOSKOWITZ                                THE 702FIRM INJURY ATTORNEYS
        EDELMAN & DICKER LLP
11

12
        /s/ Rachel L. Wise                                    /s/ Richard A. Englemann
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18                                                            MALCOLM P. LAVERGNE &
                                                              ASSOCIATES
19                                                            Malcolm P. LaVergne, Esq.
                                                              Nevada Bar No. 10121
20                                                            Attorneys for Plaintiff
21

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23
             IT IS SO ORDERED.
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25                       17
             Dated this _____ day of April, 2020.

26                                                      ________________________________________
                                                        Gloria M. Navarro, District Judge
27                                                      United States District Court

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                                                        -2-
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